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                                                                EXHIBIT A
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                                                                EXHIBIT A
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                                                                EXHIBIT A
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                                                                EXHIBIT A
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                                                                EXHIBIT A
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                                                                EXHIBIT A
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                                                                                                 EXHIBIT B
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                              IN THE STATE COURT OF CHATHAM COUNTY
                                         STATE OF GEORGIA

         SANDRA GRAY,                                   )
                                                        )
                 Plaintiff,                             )
                                                        )
         v.                                             )
                                                        ) Civil Action No.: STCV20-01430
         OLIVE GARDEN HOLDINGS, LLC.,                   )
                                                        )
               Defendant.                               )
         _________________________________              )

                              CONSENT MOTION TO ADD AND DROP PARTIES

                COME NOW, Plaintiff and Defendant by and through counsel, and respectfully request an

        order dismissing Improperly Named Defendant Olive Garden Holdings, LLC, and adding GMRI,

        Inc. pursuant to O.C.G.A. §§ 15 & 21.

                WHEREFORE, the Plaintiff and Defendant respectfully request that this Motion be granted

        and this Court enter an Order:

        (1) Allowing Plaintiff to identify and join GMRI, Inc. as a Defendant;

        (2) dismissing Improperly Named Defendant Olive Garden Holdings, LLC without prejudice;

        (3) ordering the Plaintiff to amend and serve her original Complaint; and

        (4) amending the caption of this action accordingly.

                Respectfully submitted, this 13th day of November 2020.

         /s/ William J. Degenhart (with express         /s/Michael Becker
         permission by Michael Becker)                 KIMBERLY SHERIDAN, ESQ.
         WILLIAM DEGENHART, ESQ.                       Georgia Bar Number 061028
         Georgia Bar Number 384018                     MICHAEL M. BECKER, II, ESQ.
         COUNSEL FOR PLAINTIFF                         Georgia Bar Number 529479
         MORGAN & MORGAN.                              COUNSEL FOR DEFENDANT
         25 Bull Street, Suite 400                     VERNIS & BOWLING OF ATLANTA, LLC
         Savannah, Georgia 31401                       30 Perimeter Park Drive, Suite 200
                                                       Atlanta, Georgia 30341




                                                                                                 EXHIBIT C
      Case 4:21-cv-00192-RSB-CLR Document 1-1 Filed 06/30/21 Page 9 of 31




                     IN THE STATE COURT OF CHATHAM COUNTY
                                STATE OF GEORGIA

 SANDRA GRAY,                                  )
                                               )
        Plaintiff,                             )
                                               )
 v.                                            )
                                               ) Civil Action No.: STCV20-01430
 OLIVE GARDEN HOLDINGS, LLC.,                  )
                                               )
       Defendant.                              )
 _________________________________             )

                                             ORDER

       It appearing to this Court that Plaintiff has learned that Olive Garden Holdings, LLC is not

a proper defendant, and that GMRI, Inc. is a proper defendant, and the parties having consented to

the same, it is hereby ORDERED:

       1. that GMRI, Inc. shall be added as a named Defendant;

       2. Olive Garden Holdings, LLC shall be dismissed from this lawsuit without prejudice;

       3. hereafter this action shall proceed under the caption “Sandra Gray v. GMRI, Inc.;”

       4. GMRI, Inc. shall not be properly joined to this action unless and until Plaintiff files an

           Amended Complaint that names GMRI, Inc. therein, and obtains proper service of

           process upon GMRI, Inc. within 30 days of the entry of this Order; and

       5. if GMRI, Inc. is not properly joined and served with process including an Amended

           Complaint as set forth in this Order within 30 days of the entry of this Order, this action

           shall stand automatically dismissed without prejudice as to GMRI, Inc.

       SO ORDERED this ____ day of __________, 2020.

                                                      ____________________________________
                                                      ______________________________, Judge
                                                      State Court of Chatham County, Georgia




                                                                                             EXHIBIT C
    Case 4:21-cv-00192-RSB-CLR Document 1-1 Filed 06/30/21 Page 10 of 31




Presented by:

VERNIS & BOWLING OF ATLANTA, LLC

/s/Michael Becker
Kimberly Sheridan, Esq.
Georgia Bar Number 061028
Michael Becker, Esq.
Georgia Bar No. 529479




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                              IN THE STATE COURT OF CHATHAM COUNTY
                                         STATE OF GEORGIA

         SANDRA GRAY,                                  )
                                                       )
                 Plaintiff,                            )
                                                       )
         v.                                            )
                                                       ) Civil Action No.: STCV20-01430
         OLIVE GARDEN HOLDINGS, LLC.,                  )
                                                       )
               Defendant.                              )
         _________________________________             )

                                         CERTIFICATE OF SERVICE

                I HEREBY CERTIFY that I have this day served opposing counsel with the foregoing

        Consent Motion to Add and Drop Parties and Proposed Order via e-file addressed to:

                  William Degenhart, Esq.
                  Morgan & Morgan
                  25 Bull Street, Suite 400
                  Savannah, Georgia 31401

                Respectfully submitted this the 13th day of November 2020.

                                                             Vernis & Bowling of Atlanta, LLC

                                                             /s/Michael Becker
                                                             Kimberly Sheridan, Esq.
                                                             Georgia Bar No.: 061028
                                                             Michael Becker, Esq.
                                                             Georgia Bar No.: 529479
                                                             Attorneys for Defendant
        30 Perimeter Park Drive, Suite 200
        Atlanta, GA 30341
        (404) 846-2001; (404) 846-2002 (Fax)
        ksheridan@georgia-law.com
        mbecker@georgia-law.com




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                                                                                                EXHIBIT D
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                              IN THE STATE COURT OF CHATHAM COUNTY
                                         STATE OF GEORGIA

        SANDRA GRAY,                                     )
                                                         )
                 Plaintiff,                              )
                                                         )
        v.                                               ) Civil Action No: STCV20-01430
                                                         )
        GMRI, INC.,                                      )
                                                         )
              Defendant.                                 )
        ________________________________                 )

                                             WAIVER OF SERVICE

                Pursuant to O.C.G.A. § 9-11-4(d), Defendant GMRI, Inc. (“Defendant”) waives service

        of Summons and Complaint in this action. By this Waiver, the Defendant agrees to save the cost

        of service of the Summons and an additional copy of the Complaint in this lawsuit by not

        requiring that it be formally served with judicial process in the manner provided by the Georgia

        Rules of Civil Procedure.       The Defendant expressly reserves and retains all defenses or

        objections to the Plaintiff’s Complaint or discovery requests, or to the jurisdiction or venue of the

        Court, except for defenses based on a defect in the sufficiency of process or service of process.

        The Defendant understands that a judgment may be entered against him if an Answer is not

        served upon the Plaintiff within 60 days after the date of this Waiver.

                Pursuant to O.C.G.A. §§ 9-11-4(d) and 9-11-4(h), Defendant shall have 60 days after

        returning this Waiver to file an Answer to the Plaintiff’s Complaint; provided, however, that if

        Plaintiff does not file this Waiver with the Court within 5 business days after Defendant returns

        this Waiver, the time to answer shall not begin to run until the date Plaintiff makes proof of

        service by filing this Waiver with the Court.




                                                                                                    EXHIBIT E
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                Further, pursuant to O.C.G.A. §§ 9-11-33, 9-11-34, and 9-11-36, if any written discovery

        requests were served upon the Defendant simultaneously with the Plaintiff’s Complaint,

        Defendant shall have an additional 15 days after the date for answering the Plaintiff’s Complaint

        in which to respond to any and all discovery requests, including interrogatories, requests for

        admission, and requests for production of documents.

                Respectfully submitted, this 7th day of December, 2020.

                                                              Vernis & Bowling of Atlanta, LLC

                                                              /s/ Michael Becker
                                                              Kimberly Sheridan, Esq.
                                                              Georgia Bar No.: 061028
                                                              Michael Becker, Esq.
                                                              Georgia Bar No.: 529479
                                                              Attorneys for Defendant
        30 Perimeter Park Drive, Suite 200
        Atlanta, GA 30341
        (404) 846-2001
        (404) 846-2002 (Fax)
        ksheridan@georgia-law.com
        mbecker@georgia-law.com




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                                                                                                 EXHIBIT E
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                                         CERTIFICATE OF SERVICE


                I HEREBY CERTIFY that I have this day served a true and correct copy of the within

        and foregoing Waiver of Service via statutory electronic service, and addressed as follows:

                                             William J. Degenhart, Esq.
                                                Morgan & Morgan
                                              25 Bull Street, Suite 400
                                               Savannah, GA 31401

                Respectfully submitted, this the 7th day of December, 2020.

                                                              Vernis & Bowling of Atlanta, LLC

                                                              /s/ Michael Becker
                                                              Kimberly Sheridan, Esq.
                                                              Georgia Bar No.: 061028
                                                              Michael Becker, Esq.
                                                              Georgia Bar No.: 529479

        30 Perimeter Park Drive, Suite 200
        Atlanta, Georgia 30341
        (404) 846-2001
        (404) 846-2002 (Fax)
        ksheridan@georgia-law.com
        mbecker@georgia-law.com




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                              IN THE STATE COURT OF CHATHAM COUNTY
                                         STATE OF GEORGIA

        SANDRA GRAY,                                   )
                                                       )
                Plaintiff,                             )
                                                       )
        v.                                             )
                                                       ) Civil Action No.: STCV20-01430
        GMRI, INC.,                                    )
                                                       )
              Defendant.                               )
        _________________________________              )

                                 GMRI, INC.’S ANSWER TO PLAINTIFF’S
                               AMENDED COMPLAINT AND JURY DEMAND

                COMES NOW GMRI, INC., defendant in the above-styled action (“Defendant”) and

        submits this its Answer and Demand for Jury Trial and shows this honorable Court as follows:

                                                  FIRST DEFENSE

                The Plaintiff’s Amended Complaint fails to state a claim against the Defendant upon

        which relief can be granted, and, therefore, Plaintiff’s Amended Complaint should be dismissed.

                                                 SECOND DEFENSE

                The Plaintiff’s Amended Complaint should be dismissed on the grounds that Defendant

        breached no duty owed to the Plaintiff.

                                                  THIRD DEFENSE

                No acts or omissions of the Defendant proximately caused the occurrence at issue in this

        litigation or any damages alleged by the Plaintiff and, therefore, the Plaintiff’s Amended

        Complaint should be dismissed.

                                                 FOURTH DEFENSE

                Defendant shows that it was not negligent in any manner whatsoever in connection with

        the alleged injuries of the Plaintiff.




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                                                 FIFTH DEFENSE

                Defendant shows that, even if it were negligent, which it specifically denies, Plaintiff

        herself was negligent and such negligence was equal to or greater than the alleged negligence on

        the part of said Defendant and for this reason the Plaintiff’s cannot recover against said

        Defendant.

                                                 SIXTH DEFENSE

                Defendant shows that, even if it were negligent, which it specifically denies, some of the

        harms complained of by this Plaintiff were the direct result of her own failure to mitigate her

        damages as required by law and that as a result, and for this reason, the Plaintiff cannot recover

        against said Defendant.

                                               SEVENTH DEFENSE

                The Plaintiff’s Amended Complaint should be dismissed against said Defendant on the

        grounds that the alleged injuries of Plaintiff were caused by intervening and superseding causes

        over which said Defendant had no control and, therefore, the Plaintiff cannot recover from said

        Defendant.

                                                EIGHTH DEFENSE

                Defendant incorporates herein by reference all affirmative defenses set forth in O.C.G.A.

        §§ 9-11-8(c) and 9-11-12(b) not set forth herein above to the full extent applicable and asserts on

        the grounds of said affirmative defenses that the Plaintiff’s Amended Complaint should be

        dismissed.

                                                NINTH DEFENSE

                Plaintiff’s Amended Complaint should be dismissed inasmuch as Plaintiff’s knowledge

        of any hazard was equal to or greater than that of Defendant and that Plaintiff, in the exercise of




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        ordinary care, should have avoided any alleged hazard.

                                                TENTH DEFENSE

                If Plaintiff sustained any injuries or incurred any damages, the same were caused in

        whole or in part by the acts or omissions of persons other than this Defendant, over whom this

        Defendant had no control, or by the superseding intervention of causes outside this Defendant’s

        control.

                                              ELEVENTH DEFENSE

                Plaintiff’s alleged damages were caused by the acts or failure to act of Plaintiff or of

        individuals or entities other than this Defendant. However, if this Defendant is determined to be

        liable, any recovery by Plaintiff should be reduced by a pro-rata amount attributable to the

        negligence of any other party to this action and any responsible non-parties pursuant to O.C.G.A.

        § 51-12-33.

                                              TWELFTH DEFENSE

                   Responding to the specific allegations of the Plaintiff’s Amended Complaint, the

        Defendant shows the Court the following:

                                        PARTIES AND JURISDICTION

                                                         1.

                Defendant is without sufficient knowledge or belief to admit or deny the allegations in

        Paragraph No. 1 of Plaintiff’s Amended Complaint and therefore denies the same.

                                                         2.

                Defendant admits that the premises at issue in this lawsuit is its Olive Garden restaurant

        located at 11333 Abercorn Street, Savannah, Georgia 31419 (the “Subject Premises”). Defendant

        is without sufficient knowledge or belief to admit or deny the remaining allegations in Paragraph




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        No. 2 of Plaintiff’s Amended Complaint and therefore denies the same.

                                                         3.

                Defendant denies any tortious conduct. Defendant admits the remaining allegations

        contained in Paragraph No. 3 of Plaintiff’s Amended Complaint

                                                         4.

                Defendant admits the allegations contained in Paragraph No. 4 of Plaintiff’s Amended

        Complaint

                                          FACTUAL ALLEGATIONS

                                                         5.

                Defendant incorporates and re-alleges as if fully stated herein its responses to Paragraph

        nos. 1-4.

                                                         6.

                Defendant denies that it owned the Subject Premises. Defendant admits the remaining

        allegations in Paragraph No. 6 of Plaintiff’s Amended Complaint.

                                                         7.

                Defendant admits the allegations contained in Paragraph No. 7 of Plaintiff’s Amended

        Complaint.

                                                         8.

                Defendant admits the allegations contained in Paragraph No. 8 of Plaintiff’s Amended

        Complaint.

                                                         9.

                Defendant is without sufficient knowledge or belief to admit or deny the allegations in

        Paragraph No. 9 of Plaintiff’s Amended Complaint and therefore denies the same.




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                                                         10.

                Defendant is without sufficient knowledge or belief to admit or deny the allegations in

        Paragraph No. 10 of Plaintiff’s Amended Complaint and therefore denies the same.

                                                     COUNT I

                                       Negligence of Defendant GMRI, Inc.

                                                         11.

                Defendant incorporates and re-alleges as if fully stated herein its responses to Paragraph

        nos. 1-10.

                                                         12.

                Defendant is without sufficient knowledge or belief to admit or deny the allegations in

        Paragraph No. 12 of Plaintiff’s Amended Complaint and therefore denies the same.

                                                         13.

                Defendant denies the allegations contained in Paragraph No. 13 of Plaintiff’s Amended

        Complaint.

                                                         14.

                Defendant denies the allegations contained in Paragraph No. 14 of Plaintiff’s Amended

        Complaint.

                                                         15.

                Defendant admits that it managed and operated the Subject Premises and that it generally

        owes a duty subject to the laws of the State of Georgia, but denies that it breached any duty.

        Defendant denies the remaining allegations contained within Paragraph No. 15 of Plaintiff’s

        Amended Complaint.




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                                                         16.

                Defendant denies the allegations contained in Paragraph No. 16 of Plaintiff’s Amended

        Complaint.

                                                         17.

                Defendant denies the allegations contained in Paragraph No. 17 of Plaintiff’s Amended

        Complaint.

                                                         18.

                Defendant denies the allegations contained in Paragraph No. 18 of Plaintiff’s Amended

        Complaint.

                                                         19.

                Defendant denies the allegations contained in Paragraph No. 19 of Plaintiff’s Amended

        Complaint.

                                                         20.

                Defendant denies the allegations contained in Paragraph No. 20 of Plaintiff’s Amended

        Complaint.

                                                         21.

                Defendant denies the allegations contained in Paragraph No. 21 of Plaintiff’s Amended

        Complaint.

                                                         22.

                Defendant denies the allegations contained in Paragraph No. 22 of Plaintiff’s Amended

        Complaint.

                                                         23.

                To the extent that they require a response, the allegations contained in the WHEREFORE




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        paragraph of Plaintiff’s Amended Complaint, including any prayer for relief, are denied.

                                                         24.

                Any allegations not specifically admitted herein are deemed denied.

                WHEREFORE, Defendant respectfully requests that Plaintiff’s Amended Complaint be

        dismissed and that all costs be taxed against Plaintiff and for any and all further relief as this

        Court deems just and proper.

                                                 JURY DEMAND

                COMES NOW GMRI, Inc. and demands that this case be tried before a jury of twelve.

                Respectfully submitted this the 5th day of February 2021.

                                                       Vernis & Bowling of Atlanta, LLC

                                                       /s/Kimberly Sheridan
                                                       Kimberly Sheridan, Esq.
                                                       Georgia Bar No.: 061028
                                                       Michael Becker, Esq.
                                                       Georgia Bar No.: 529479
                                                       Attorneys for Defendant
        30 Perimeter Park Drive, Suite 200
        Atlanta, GA 30341
        (404) 846-2001
        (404) 846-2002 (Fax)
        ksheridan@georgia-law.com
        mbecker@georgia-law.com




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                             IN THE STATE COURT OF CHATHAM COUNTY
                                        STATE OF GEORGIA

        SANDRA GRAY,                                   )
                                                       )
                Plaintiff,                             )
                                                       )
        v.                                             )
                                                       ) Civil Action No.: STCV20-01430
        GMRI, INC.,                                    )
                                                       )
              Defendant.                               )
        _________________________________              )

                                         CERTIFICATE OF SERVICE

                I HEREBY CERTIFY that I have this day served the within and foregoing Defendant
        GMRI, Inc.’s Answer To Plaintiff’s Amended Complaint And Jury Demand upon all parties by
        electronic filing and by depositing a copy of the same in the United States Mail in a properly
        addressed envelope with adequate postage affixed thereon to ensure delivery to:
                 William J. Degenhart, Esq.
                 Morgan & Morgan
                 25 Bull Street, Suite 400
                 Savannah, GA 31401

                Respectfully submitted this the 5th day of February 2021.

                                                       Vernis & Bowling of Atlanta, LLC

                                                       /s/Kimberly Sheridan
                                                       Kimberly Sheridan, Esq.
                                                       Georgia Bar No.: 061028
                                                       Michael Becker, Esq.
                                                       Georgia Bar No.: 529479
                                                       Attorneys for Defendant
        30 Perimeter Park Drive, Suite 200
        Atlanta, GA 30341
        (404) 846-2001
        (404) 846-2002 (Fax)
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        mbecker@georgia-law.com




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                     IN THE STATE COURT OF CHATHAM COUNTY
                                STATE OF GEORGIA

SANDRA GRAY,                                   )
                                               )
       Plaintiff,                              )
                                               )
v.                                             ) CIVIL ACTION NO.: STCV20-01430
                                               )
GMRI, INC.,                                    )
                                               )
       Defendant.                              )

                      PLAINTIFF’S RESPONSES TO DFENDANT’S
                         FIRST REQUEST FOR ADMISSIONS

       COMES NOW, Plaintiff Sandra Gray, and responds to Defendant’s First Request for

Admissions, as follows:

                                                 1.

       Admit that your Complaint alleges special damages and general damages against

one or all Defendants named in this lawsuit.

       RESPONSE: Admitted.

                                                 2.

       Admit that your total alleged damages against one or all Defendants named in this

lawsuit exceeds $75,000.

       RESPONSE: Plaintiff cannot admit or deny this Request, and to the extent that a

Response if required, Plaintiff admits, however, Plaintiff notes that Plaintiff has sent a

demand in this action for $75,000.00.

                                                 3.

       Admit that you will not accept any award of damages of $75,000 or less in this

lawsuit.




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        RESPONSE: Plaintiff cannot admit or deny this request. To the extent that a

response is required, Plaintiff denies this request, as Plaintiff has sent a demand in this

action for $75,000.00.

                                                4.

        Admit that you waive any amount of damages entered in this lawsuit in excess of

$75,000.

        RESPONSE: Denied.

                                                5.

        Admit that the Plaintiff, Sandra Gray, is a resident of the State of Georgia as your

Complaint alleges.

        RESPONSE: Admitted.

                                                6.

        Admit that Defendant GMRI, Inc. is a resident of the State of Florida.

        RESPONSE: Admitted.

                                                7.

        Admit that Defendant GMRI, Inc. is not liable in any respect for the damaged

claimed by the Plaintiff in this case.

        RESPONSE: Denied.

                                                8.

        Admit that Defendant GMRI, Inc. owes no damages to any party in this case as a

result of the subject incident.

        RESPONSE: Denied.




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                                                9.

       Admit that you will not at any time ask a finder of fact in this matter, including

either a judge or jury, to award Plaintiff damages of $75,000 or more.

       RESPONSE: Denied.

       This 1st day of June, 2021.

                                                     /s/ William J. Degenhart
                                                     William J. Degenhart
                                                     Georgia Bar No. 384018
                                                     Attorney for Plaintiff

MORGAN & MORGAN
25 Bull Street, Suite 400
Savannah, Georgia 31401
T: (912) 443-1000
F: (912) 443-1104
wdegenhart@forthepeople.com




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                                CERTIFICATE OF SERVICE


       This is to certify that I have served a true and correct copy of the foregoing Plaintiff’s

Responses to Defendant’s First Request for Admissions on this date upon all counsel of record

via statutory electronic service and addressed as follows:

                                   Kimberly Sheridan, Esq.
                                    Michael Becker, Esq.
                             VERNIS & BOWLING OF ATLANTA, LLC
                              30 Perimeter Park Drive, Suite 200
                                     Atlanta, GA 30341
                                 ksheridan@georgia-law.com
                                 mbecker@georgia-law.com
                                   Attorneys for Defendant


       This 1st day of June, 2021.


                                                     /s/ William J. Degenhart
                                                     William J. Degenhart
                                                     Georgia Bar No. 384018
                                                     Attorney for Plaintiff


MORGAN & MORGAN
25 Bull Street, Suite 400
Savannah, Georgia 31401
T: (912) 443-1000
F: (912) 443-1104
wdegenhart@forthepeople.com




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                     IN THE STATE COURT OF CHATHAM COUNTY
                                STATE OF GEORGIA

SANDRA GRAY,                                  )
                                              )
        Plaintiff,                            )
                                              )
v.                                            ) Civil Action No: STCV20-01430
                                              )
GMRI, INC.,                                   )
                                              )
      Defendant.                              )
________________________________              )

                                  NOTICE OF REMOVAL

TO:    Plaintiff Sandra Gray and her attorney of record
       William J. Degenhart, Esq.
       Morgan & Morgan
       25 Bull Street , Suite 400
       Savannah, GA 31401

TO:    The Clerk of the State Court of Chatham County

       PLEASE TAKE NOTICE that the undersigned has this day filed in the United States

District Court, Southern District of Georgia, Savannah Division, the attached Petition for

Removal, and copy of the pleadings filed in the State Court of Chatham County, Georgia, the

same having been assigned Civil Action Number TBD.

       By virtue of law, the aforesaid case is now removed and further proceedings in the State

Court of Chatham County are stayed.

       Respectfully submitted this the 30th day of June 2021

                                            Vernis & Bowling of Atlanta, LLC

                                            /s/Kimberly Sheridan
                                            Kimberly Sheridan, Esq.
                                            Georgia Bar No.: 061028
                                            Michael Becker, Esq.
                                            Georgia Bar No.: 529479
                                            Jeffrey P. Raasch, Esq.




                                                                                      EXHIBIT H
    Case 4:21-cv-00192-RSB-CLR Document 1-1 Filed 06/30/21 Page 30 of 31




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                                                                     EXHIBIT H
     Case 4:21-cv-00192-RSB-CLR Document 1-1 Filed 06/30/21 Page 31 of 31




                     IN THE STATE COURT OF CHATHAM COUNTY
                                STATE OF GEORGIA

SANDRA GRAY,                                  )
                                              )
        Plaintiff,                            )
                                              )
v.                                            ) Civil Action No: STCV20-01430
                                              )
GMRI, INC.,                                   )
                                              )
      Defendant.                              )
________________________________              )

                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I have this day served the within and foregoing Notice of
Removal upon all parties by depositing a copy of the same in the United States Mail in a
properly addressed envelope with adequate postage affixed thereon to ensure delivery to:
William J. Degenhart, Esq.
Morgan & Morgan
25 Bull Street , Suite 400
Savannah, GA 31401

       Respectfully submitted this the 30th day of June 2021

                                            Vernis & Bowling of Atlanta, LLC

                                            /s/Kimberly Sheridan
                                            Kimberly Sheridan, Esq.
                                            Georgia Bar No.: 061028
                                            Michael Becker, Esq.
                                            Georgia Bar No.: 529479
                                            Jeffrey P. Raasch, Esq.
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                                                                                           EXHIBIT H
